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APPENDIX TO THE COMMONWEALTH’S AUGUST 17, 2018 LETTER
Exhibit Date of Exhibit    Description of Exhibit        Beginning page
                                                         number
  A       April 18, 2018   Letter from Navient to ED            A1
  B       May 4, 2018      Letter from ED to Navient            A3
  C       July 18, 2018    Letter from the                      A6
                           Commonwealth to ED
  D       August 6, 2018   Letter from ED to the                A11
                           Commonwealth
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       Exhibit A




                              A1
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        Exhibit B




                              A3
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                           UNITED STATES DEPARTMENT OF EDUCATION
                                            OFFICE OF THE GENERAL COUNSEL



                                                          May 4, 2018

Via Email

Jennifer Levy, P.C.
Kirkland & Ellis LLP
655 Fifteenth Street, N.W.
Washington, DC 20005

       Re:        Pennsylvania Attorney General’s Requests for Department of Education Records
                  in Commonwealth of Pennsylvania v. Navient Corporation et al, No. 3:17-cv-
                  01814-RDM (M.D. Pa., filed October 5, 2017)

Dear Ms. Levy:

    Thank you for your letter dated April 18, 2018 regarding the Pennsylvania Attorney
General’s (“Pennsylvania’s”) discovery requests in the above-captioned matter. Navient requests
the Department of Education’s (“Department’s”) permission to produce certain documents that
are the records and property of the Department and that are restricted from disclosure pursuant to
the Privacy Act of 1974 (“Privacy Act”) and the Department’s contract with Navient. In part,
Pennsylvania is asking for records received or used by Navient as a loan servicer under contract
with the Department. The Department cannot grant you permission to release these Department
records and requests that you direct Pennsylvania to the Department to submit its request for
those particular records.

    As you indicate in your letter, a substantial component of Pennsylvania’s request seeks
disclosure of Department records, specifically records in a Department System of Records
(SOR), including the Common Services for Borrowers (CSB) SOR (18-11-16) and, possibly, the
Ombudsman SOR (18-11-11). Complying with Pennsylvania’s request, specifically for Requests
3A, 3C (in part), and 3D (in part), and potentially 3E (in part) and 3F would result in the release
of records that are protected by the Privacy Act.

    Neither your letter nor Pennsylvania’s request identifies a reason why disclosure of these
records is permitted under the Privacy Act which places significant restrictions on the disclosure
of records, particularly without written consent of the individual. Moreover, the Department has
instructed its loan servicers that have received third-party requests for Department records
subject to the Privacy Act to inform the requesters they need to come to the Department directly
with their requests. See Letter from Patrick A. Bradfield, Director, Federal Student Aid
Acquisitions, Ownership of and Access to U.S Department of Education Records and Data
Department of Education Memorandum (Dec. 27, 2017). The Department considers records
requests made in the context of litigation to be covered by letter’s directive and subject to the
Department’s Privacy Act obligations generally.

                                   400 MARYLAND AVE., S.W. WASHINGTON, D.C. 20202-2110

             Our mission is to ensure equal access to education andA4
                                                                    to promote educational excellence throughout the Nation
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    Furthermore, Navient’s contract with the Department makes clear that the Department “owns
the rights to all data/records produced as part of th[e] contract.” Number: FSA-TitleIV-09,
Attachment A-2, https://www2.ed.gov/policy/gen/leg/foia/contract/salliemae-061709.pdf. The
contract states Navient is to “treat all deliverables under the contract as the property of the U.S.
Government for which the Government Agency shall have unlimited rights to use, dispose of, or
disclose such data contained therein as it determines to be in the public interest.” Id.

   Additional provisions of the contract related to records management state that the records
produced pursuant to this contract are subject to the Privacy Act. See id. (“All data created for
Government use and delivered to, or falling under the legal control of, the Government are
Federal records and shall be managed in accordance with…the Privacy Act (5 U.S.C. 552a).)”

    Consistent with the Department’s earlier instructions and Navient’s contract with the
Department, Navient should inform Pennsylvania that it should make its request directly to the
Department. The Department will then evaluate the request based on the requirements of the
Privacy Act and the Freedom of Information Act.

    We note that Pennsylvania has also requested records relating to Navient’s private loans.
The directions in this letter relate only to records relating to loans serviced by Navient under its
contract with the Department and do not address Navient’s obligations relating to those private
loans.

       Sincerely,




       J. Justin Riemer
       Deputy General Counsel,
       Postsecondary Education




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       Exhibit C




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        Exhibit D




                              A11
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                                          August 6, 2018

Via Email

Jill Ambrose
Deputy Attorney General
Bureau of Consumer Financial Protection

Nicholas Smyth
Assistant Director for Consumer Financial Protection
Office of Attorney General
Bureau of Consumer Protection
1251 Waterfront Place
Mezzanine Level
Pittsburgh, PA 15222

       Re:     Pennsylvania Office of Attorney General's Requests for Department of
               Education Records in Commonwealth of Pennsylvania v. Navient Corporation
               et al., No. 3:17-cv-01814-RDM (M.D. Pa., filed October 5, 2017)

Dear Mr. Smyth and Ms. Ambrose:

    Thank you for your letter dated July 18, 2018, requesting that the U.S. Department of
Education (“Department”) grant Navient Solutions, LLC (“Navient Solutions”) permission to
release Department records requested by the Pennsylvania Office of Attorney General, Bureau of
Consumer Protection (“Bureau”) in the Bureau’s First Set of Requests for Production from
Navient Solutions (as well as records the Bureau may request from Navient Solutions in any
future requests for production) in the Bureau’s litigation in the above-captioned case. We
appreciate your patience in awaiting a reply.

    As your July 18 letter acknowledges, the records sought are restricted from disclosure
pursuant to the Privacy Act of 1974 (“Privacy Act”). The Department appreciates the response to
our Privacy Act concerns set forth in your July 18 letter. As you may be aware, the Department
has discretion to make disclosures under the Privacy Act on a “case-by-case” basis and, at this
time, it is utilizing that discretion not to authorize disclosure of the records you request. 83 Fed.
Reg. at 27,589. Please note that our decision not to provide the requested records is in no way
informed by recent changes to the routine use exceptions for disclosure of Department records.

    The Bureau’s discovery requests ask the Department to authorize disclosure of “every
borrower enrolled in forbearance or any income-driven repayment (IDR) plan from January 1,
2009 to the present” and other borrower-specific information related to “concerns, complaints,
inquiries, or disputes....” This adds up to potentially millions of borrower records for a time
period spanning nearly a decade. The Department has serious concerns with assenting to such a



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far-reaching request both in respect to the large number of borrowers and the expansive period of
time. The Department is also concerned that release of the requested records is not essential to
the purposes of the Bureau’s litigation and, given the breadth of the request, raises significant
privacy concerns particularly when the Department is asked to disclose the records without the
individuals’ consent.

    Related, the request affects the records of potentially millions of federal student loan
borrowers in a manner that may require the Department to notify borrowers individually that
their records were made available as part of this litigation. Such notification would be extremely
burdensome to the Department and, to ensure it met its obligations under the Privacy Act, the
Department would almost certainly be required to divert significant resources away from
managing its federal student aid programs

    In any event, release of the requested records raises concerns under the Department’s Touhy
Regulations (34 C.F.R. §§ 8.1-8.5). The Touhy Regulations provide that “a demand for records
issued pursuant to the rules governing the legal proceeding in which the demand arises – (1)
Must be in writing; and (2) Must state the nature of the requested testimony or records, why the
information sought is unavailable by any other means, and the reason why the release of the
information would not be contrary to an interest of the Department or the United States” 34
C.F.R. § 8.3(a), (c). The Department requests that the Bureau comply with the above-cited
Touhy Regulation procedures. The Department will then promptly consider and respond to the
request.

   Thank you again for your patience.


               Sincerely,



               J. Justin Riemer
               Deputy General Counsel,
               Postsecondary Education




CC:    Jennifer Levy, P.C., Kirkland & Ellis LLP




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